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                                                                                   11   TYLER TECHNOLOGIES, INC.

                                                                                   12
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                                                                                   13                                 UNITED STATES DISTRICT COURT

                                                                                   14                              NORTHERN DISTRICT OF CALIFORNIA

                                                                                   15

                                                                                   16 MARIANNE KOHLMANN,                                   Case No. __________

                                                                                   17                        Plaintiff,                    DEFENDANT TYLER TECHNOLOGIES,
                                                                                                                                           INC.’S NOTICE OF REMOVAL OF CIVIL
                                                                                   18         vs.                                          ACTION TO THE UNITED STATES
                                                                                                                                           DISTRICT COURT
                                                                                   19 TYLER TECHNOLOGIES, INC., an entity; and
                                                                                      DOES 1 through 25, inclusive,
                                                                                   20
                                                                                                           Defendants.                     Contra Costa County Superior Court
                                                                                   21                                                      Case No.:           C20-00008
                                                                                                                                           State Action Filed: January 6, 2020
                                                                                   22

                                                                                   23

                                                                                   24         TO THE UNITED STATES DISTRICT COURT FOR THE NORTHERN

                                                                                   25 DISTRICT OF CALIFORNIA, THE CLERK OF COURT, AND PLAINTIFF AND HER

                                                                                   26 ATTORNEYS OF RECORD:

                                                                                   27         PLEASE TAKE NOTICE that Defendant Tyler Technologies, Inc. (“Defendant”), hereby

                                                                                   28 removes the above-captioned action from the Superior Court of the State of California for the

                                                                                                                                      –1–                    US_ACTIVE-151111359.1-GCPARKS 2/5/20 8:12 AM

                                                                                                    NOTICE OF REMOVAL OF CIVIL ACTION TO UNITED STATES DISTRICT COURT
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                                                                                    1 County of Contra Costa to the United States District Court for the Northern District of California

                                                                                    2 pursuant to 28 U.S.C. §§ 1441 and 1446, asserting original federal jurisdiction on the basis of

                                                                                    3 diversity under 28 U.S.C. § 1332(a)(1). Pursuant to 28 U.S.C. § 1446(d), copies of this Notice of

                                                                                    4 Removal are being served upon counsel for Plaintiff Marianne Kohlmann (“Plaintiff”) and filed

                                                                                    5 with the Clerk of the California Superior Court for the County of Contra Costa, as an exhibit to a

                                                                                    6 Notice to State Court of Removal to Federal Court.

                                                                                    7                  PROCEDURAL HISTORY AND TIMELINESS OF REMOVAL

                                                                                    8          1. Plaintiff filed this action against Defendant on January 6, 2020, in the Superior Court for

                                                                                    9 the County of Contra Costa, in a case entitled, Kohlmann v. Tyler Technologies, Inc., et al., Case

                                                                                   10 No. C20-00008 (the “State Court Action”).
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                                                                                   11          2. On January 7, 2020, the State Court Action was served on Defendant. See Declaration of

                                                                                   12 Garrett C. Parks (“Parks Declaration”) at ¶ 2. On February 5, 2020, Defendant filed an Answer to
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                                                                                   13 Plaintiff’s Complaint and simultaneously removed the State Court Action to this Court. Id. at ¶ 3.

                                                                                   14 Copies of the Complaint, Answer, Summons and ADR Package in the State Court Action are

                                                                                   15 attached to the Parks Declaration as Exhibit A, and constitute all process, pleadings, and orders

                                                                                   16 purported to be served in this action. Id. at ¶ 4.

                                                                                   17          3. In the State Court Action, Plaintiff alleges state law claims against Defendant for

                                                                                   18 discrimination, harassment, failure to engage in the interactive process, failure to accommodate,

                                                                                   19 retaliation, failure to prevent discrimination/harassment/retaliation, and wrongful termination (the

                                                                                   20 “Complaint”). See generally Complaint.

                                                                                   21          4. A copy of the Notice to State Court of Removal to Federal Court is attached (without

                                                                                   22 exhibits) to the Parks Declaration at ¶ 5 and Exhibit B.

                                                                                   23                                      NO JOINDER NECESSARY

                                                                                   24          5. Because there are no other ascertainable Defendants in this action, no consent to removal

                                                                                   25 is necessary.

                                                                                   26                                        BASES FOR REMOVAL

                                                                                   27          6. This Court has original jurisdiction under 28 U.S.C. § 1332 and Defendant may remove

                                                                                   28 the State Court Action from state court to federal court pursuant to 28 U.S.C. § 1441 because it

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                                                                                    1 involves a controversy that exceeds the sum or value of Seventy-Five Thousand Dollars ($75,000),

                                                                                    2 and is between citizens of different states.

                                                                                    3                                      DIVERSITY JURISDICTION

                                                                                    4 Plaintiff’s Citizenship

                                                                                    5           7. Plaintiff alleges she is a resident of California. See Complaint (“Compl.”) ¶ 5. A natural

                                                                                    6 person’s citizenship is determined by his state of domicile. Kantor v. Warner-Lambert Co., 265

                                                                                    7 F.3d 853, 857 (9th Cir. 2001). Therefore, Plaintiff is domiciled in California.

                                                                                    8 Defendant’s Citizenship

                                                                                    9           8. Pursuant to 28 U.S.C. § 1332(c), “a corporation shall be deemed to be a citizen of any

                                                                                   10 State by which it has been incorporated and of the State where it has its principal place of
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                                                                                   11 business.” Defendant is now, and ever since this action commenced has been, incorporated under

                                                                                   12 the laws of the State of Delaware, with its principal place of business in Plano, Texas under the
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                                                                                   13 “nerve center” test. Declaration of Kelley Scott ¶¶ 2-3; Hertz Corp. v. Friend, 130 S. Ct. 1181, 1192

                                                                                   14 (2010).

                                                                                   15 Amount in Controversy Exceeds $75,000

                                                                                   16           9. The Complaint seeks compensatory damages, economic damages, punitive damages,

                                                                                   17 interest on Plaintiff’s alleged damages, and costs and attorneys’ fees. See Compl. at Prayer.

                                                                                   18           10. On or around June 4, 2018, Tyler hired Plaintiff at an annual salary of $70,000. See

                                                                                   19 Scott Declaration ¶¶ 4-5. Plaintiff’s employment with Defendant ended around September 25,

                                                                                   20 2018, at which point she had earned approximately $22,076.94. Id. If Plaintiff were to prevail at

                                                                                   21 trial and was awarded front pay, that amount, added to any back pay award, would exceed the

                                                                                   22 $75,000 jurisdictional requirement.

                                                                                   23           11. The Court may consider Defendant’s calculations in determining whether the amount in

                                                                                   24 controversy requirement is met. See Simmons v. PCR Technology, 209 F. Supp. 2d 1029, 1031-32

                                                                                   25 (N.D. Cal. 2002) (while declining to project future wage loss until an estimated trial date, the Court

                                                                                   26 agreed, based on defendant’s calculations, that expected damages exceeded the amount claimed by

                                                                                   27 plaintiff in the complaint). While Defendant denies Plaintiff is entitled to compensatory damages,

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                                                                                    1 for purposes of the amount in controversy requirement, Defendant’s projections of Plaintiff’s

                                                                                    2 alleged compensatory damages should be considered.

                                                                                    3         12. The Complaint seeks punitive damages. See Compl. at Prayer. Punitive damages are

                                                                                    4 considered part of the amount in controversy. See Simmons, 209 F. Supp. 2d at 1033 (“[t]he amount

                                                                                    5 in controversy may include punitive damages when they are recoverable as a matter of law”).

                                                                                    6 “Punitive damages are available under FEHA.” Id. Defendant denies that punitive damages should

                                                                                    7 be awarded here; however, for purposes of the amount in controversy requirement, claimed punitive

                                                                                    8 damages should be considered.

                                                                                    9         13. The Complaint seeks an award of attorneys’ fees. See Compl. at Prayer. “Attorneys’ fees

                                                                                   10 may be included in the amount in controversy if recoverable by statute or contract.” Simmons, 209
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                                                                                   11 F. Supp. 2d at 1034. “Attorneys’ fees are recoverable as a matter of right to the prevailing party

                                                                                   12 under FEHA.” Id. Defendant denies that any attorneys’ fees should be awarded here; however, for
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                                                                                   13 purposes of the amount in controversy requirement, claimed attorneys’ fees should be considered.

                                                                                   14         14. While Defendant denies any liability in connection with Plaintiff’s claims, because

                                                                                   15 diversity of citizenship exists and the amount in controversy exceeds $75,000, this Court has

                                                                                   16 original jurisdiction of the action pursuant to 28 U.S.C. §1332(a).

                                                                                   17                                                 VENUE

                                                                                   18         15. The State Court Action is being removed from the Superior Court of the State of

                                                                                   19 California, County of Contra Costa. See generally Compl. As such, venue lies in the Northern

                                                                                   20 District of this Court pursuant to 28 U.S.C. §§1441 and 1446(a).

                                                                                   21                                    TIMELINESS OF REMOVAL

                                                                                   22         16. This Notice of Removal is timely because Defendant has removed within 30 days of

                                                                                   23 service. 28 U.S.C. § 1446(b).

                                                                                   24                                            CONCLUSION

                                                                                   25         17. For the reasons stated above, this action is within the original jurisdiction of this Court

                                                                                   26 pursuant to 28 U.S.C. §§ 1331 and 1332(a)(1). Accordingly, this action is removable pursuant to 28

                                                                                   27 U.S.C. § 1441.

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                                                                                    1         WHEREFORE, Defendant gives notice that the State Court Action pending against it in the

                                                                                    2 Superior Court of the State of California for the County of Contra Costa is removed to this Court.

                                                                                    3

                                                                                    4         DATED: February 5, 2020

                                                                                    5                                              REED SMITH LLP
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                                                                                    7
                                                                                                                                   By: /s/ Garrett C. Parks
                                                                                    8                                                  Paulo B. McKeeby (Pro Hac Vice)
                                                                                                                                       Garrett C. Parks
                                                                                    9                                                  Attorneys for Defendant
                                                                                                                                       Tyler Technologies, Inc.
                                                                                   10
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                                                                                                   NOTICE OF REMOVAL OF CIVIL ACTION TO UNITED STATES DISTRICT COURT
